                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No. 12-00291-16-CR-W-GAF
                                            )
ERIC UNION,                                 )
                                            )
                      Defendant.            )


                                            ORDER

       This matter is currently before the Court on Defendant Union’s Motion for Severance of

Count Eight of the Second Superseding Indictment and for Separate Trial for Defendant Union

(doc #277). For the reasons set forth below, this motion is denied.

                                     I. INTRODUCTION

       On May 23, 2013, defendant Eric Union, along with fifteen others, was charged in a

ten-count Superseding Indictment. Defendant Union was charged in only Count Eight.

       On February 25, 2014, the Grand Jury returned a ten-count Second Superseding

Indictment against defendants Andre Taylor, Harlan Taylor, Raymond Taylor, Darryl Taylor,

Carl Taylor, Robert Taylor, Daniel Howard, Marlon M. Minton, Tyrone Rock, Allen Sanchez,

Rick Schoen, Ruben Machiche, Gregory Johnson, Bryant Willis, Kenneth Vaughn Cooper, Eric

Union, William E. Brown, Rahmon Allen, Victor Vickers and Charles E. Williams.        Defendant

Union is charged in only one count, that is Count Eight.              Count Eight of the Second

Superseding Indictment provides:

             Between on or about August 14, 2012 and August 21, 2012, in the
       Western District of Missouri, and elsewhere, ANDRE TAYLOR, KENNETH




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VAUGHN COOPER, and ERIC UNION, defendants herein, did knowingly and
intentionally combine, conspire, confederate, and agree with each other and
others, both known and unknown to the Grand Jury, to travel in interstate
commerce from Kansas City, Kansas, to Kansas City, Missouri, with the intent
that the murder of Billy Brown be committed, and did use a communication
facility to discuss, plan, and arrange said murder, in violation of the laws of the
state of Missouri, as consideration for the receipt of, and as consideration for a
promise and agreement to pay, things of pecuniary value, to wit: $10,000 in
United States currency, contrary to the provisions of Title 18, United States Code,
Section 1958.

                                   Overt Acts

       In furtherance of this conspiracy and to effect the objects of it, one or
more of the conspirators committed, among others, the following overt acts:

       1. On August 14, 2012, FBI agents intercepted a phone call (session
          #1374) between Eric Union and Andre Taylor. During this call
          Taylor mentions having seen “the dude” and wanting to get “dude in
          the morning shift.” Union replies that he (Union) is going to send
          him (Cooper) your direction.” Taylor responds, “I don’t give a fuck
          who it is if he [is] serious.” Later, agents intercepted a phone call
          (session #4487) between Andre Taylor and Cooper. They agree to
          meet. Cooper said, “show me how you wanna do it or let me know
          exactly how you want to do it.”

       2. On August 16, 2012, FBI agents intercepted a call between Cooper
          and Andre Taylor arranging a meeting. Afterward, FBI surveillance
          units observed Cooper and Taylor meet and talk at 1617 North 9th
          Street, Kansas City, Kansas. On August 17, 2012, FBI agents
          intercept a phone call (session #4531) between Andre Taylor and
          unknown male. During the call, Taylor asks the unknown male if he
          knows “Billy Brown.” Taylor described Brown to the unknown
          male but the unknown male did not know him.

       3. On August 18, 2012, FBI agents intercepted a call (session #1970)
          between Eric Union and Andre Taylor. During this call, Taylor
          complains about not getting in touch with “dude” (Cooper) and says
          that he (Taylor) is about to do “something really silly.” Union tells
          Taylor not to do that and Taylor responds, “it’s necessary to kill
          him.”

       4. On August 20, 2012, agents intercepted a call (session #4619) between
          Andre Taylor and Kenneth Cooper. Taylor and Cooper discuss
                                        2




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         the murder and various weapons that could be used. They discuss
         activity at the house of the intended victim. Cooper said he was
         “waiting” at the house from 10:30 to 2:20 a.m., on a recent evening.
         Cooper complained that there was too much activity at the house with
         people going in and out. Cooper also said he’s trying to get his other
         “hammer” to “lay on it how [he wants] to.” Cooper talked about
         having an AR-15 that fit inside a tennis racquet bag. Cooper also
         said he “doesn’t plan on leaving any ballistics.” Taylor asked
         Cooper to meet him (Taylor) on the following day.

      5. On August 21, 2012, agents intercepted a phone call (session #4635)
         between Cooper and Andre Taylor. During the call Taylor told
         Cooper that he (Taylor) had [a] “hammer” at “23rd and Hardesty” and
         Cooper said he was going to come and get it. Later, during call
         (session #4621) Cooper told Andre Taylor that Cooper was outside
         and Taylor told him to walk to the back.

      6. On August 21, 2012, at approximately 9:15 p.m., FBI agents notified
         Jackson County Sheriff’s Deputies that Kenneth Cooper was riding
         inside as a the [sic] front seat passenger inside a red GMC Sierra
         bearing Kansas license plate “131 ELC.” FBI agents informed the
         deputies Cooper had several arrest warrants.

      7. Thereafter, deputies activated their emergency lights and stopped the
         vehicle. As deputies made contact with the occupants of the vehicle
         they could smell the aroma of burnt marijuana coming from inside the
         vehicle. Furthermore, deputies noticed the driver, later identified as
         Kevin V. McBride, black male, who lives at 1617 North 9th Street,
         Kansas City, Kansas, appeared to be nervous and sweating profusely
         from his forehead. While this was occurring, another deputy
         contacted the front seat passenger who was later identified as Kenneth
         Vaughn Cooper. A computer check revealed Cooper had several
         active arrest warrants from Jackson County and Lee’s Summit,
         Missouri. Consequently, deputies arrested Cooper because of his
         warrants and deputies then performed a pat-down search of McBride
         and informed him his vehicle would be searched for contraband
         because of the marijuana odor.

      8. During the ensuing search, deputies recovered a black “Kimber”
         (firearms manufacturer) case behind the driver’s seat. Deputies
         recovered a MAC-10 style homemade .45 caliber firearm inside the
         plastic case. Furthermore, deputies recovered one metal stick
         magazine stamped SPW GL C-153427 with eighteen (18) live rounds
         of .45 caliber ammunition found inside the case.
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               9. In addition, deputies recovered a Glock, Model 22, .40 caliber S&W
                  semi-automatic handgun, serial number CRP008, from between the
                  center console and the driver’s seat. The Glock was found with the
                  slide locked back and no magazine inserted and no ammunition in the
                  chamber. However, a Glock, .40 caliber S&W 15-round magazine
                  containing thirteen (13) live rounds of ammunition was located within
                  the center console area next to the firearm. An additional 10 live
                  rounds of .40 caliber S&W ammunition was located inside the center
                  console area.

(Doc #244 at 5-7)(defendants’ aliases omitted) The remaining counts of the Second Superseding

Indictment charge various defendants with conspiracy to distribute powder cocaine and marijuana,

distribution of powder cocaine, aiding and abetting the distribution of powder cocaine, possession

of a machinegun in furtherance of a crime of violence, and possession of ammunition by an

unlawful user of a controlled substance.

       In the Government’s Suggestions in Opposition to Defendant’s Motion for Severance, the

government set forth the following Factual Summary:

               The thrust of the government’s case is that defendants Andre Taylor, Harlan
       Taylor, Raymond Taylor, Darryl Taylor, Carl Taylor, Robert Taylor, Daniel
       Howard, Marlon Minton, Tyrone Rock, Allen Sanchez, Rick Schoen, Ruben
       Machiche, Gregory Johnson, Bryant Willis, William Brown, Rahmon Allen, Victor
       Vickers and Charles Williams, participated in a cocaine and/or marijuana
       distribution conspiracy form February 1, 2010, to September 25, 2012. Likewise,
       the government alleges from August 14, 2012, to August 21, 2012, Andre Taylor,
       Kenneth Vaughn Cooper and Eric Union conspired to commit murder for hire of
       William Brown.

               The government’s evidence will be that Andre Taylor was the leader of a
       large drug trafficking organization that sold cocaine and marijuana throughout the
       Kansas City area. William Brown was a trusted member of Andre Taylor’s
       organization during the early part of the conspiracy. In fact, William Brown
       rented several residences for Andre Taylor. Furthermore, on or around December
       31, 2011, to January 1, 2012, William Brown purportedly stole approximately 15
       kilos of cocaine and $500,000.00 in U.S. currency from a residence he rented for
       Andre Taylor. Andre Taylor was in Florida when the theft occurred.


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                Andre Taylor believed Brown was responsible for this theft, in part,
       because only William Brown knew that Andre Taylor stored the money and the
       cocaine inside this particular residence. In addition, only William Brown had
       access to the unit other than Andre Taylor. Thereafter, Andre Taylor informed
       Eric Union that he had seen William Brown and wanted to get him. Union
       responded by telling Andre Taylor that he would send Kenneth Vaughn Cooper, a
       hit man, to Andre Taylor. Andre Taylor then offered to pay Cooper $10,000 to kill
       William Brown. On August 18, 2012, Andre Taylor complains to Eric Union
       about not being able to contact Cooper and voices his frustration by commenting
       that it’s necessary to kill him (i.e. William Brown). However, on August 21, 2012,
       investigators thwarted this murder plot after intercepting Andre Taylor instructing
       Cooper to come to his residence located at 2310 Hardesty, Kansas City, Missouri,
       and pick up a machine gun to use to kill William Brown.

(Doc #290 at 2-3)

                                        II. DISCUSSION

       Defendant Union seeks a severance of both Count Eight of the Second Superseding

Indictment and a severance of himself from his co-defendants.

       A.      Joinder of Offenses

       Whether two or more offenses can be joined in a single indictment is governed by Rule 8(a)

of the Federal Rules of Criminal Procedure. Rule 8(a) provides:

               (a)     Joinder of Offenses. The indictment ... may charge a defendant in
       separate counts with 2 or more offenses if the offenses charged ... are of the same or
       similar character, or are based on the same act or transaction, or are connected with
       or constitute parts of a common scheme or plan.

Fed.R.Crim.P. 8(a).

       The joinder of offenses pursuant to Rule 8(a) is proper when: (1) the offenses are of the

same or similar character; (2) the offenses are based on the same act or transaction; or (3) the

offenses are based on two or more acts or transactions connected together or constituting parts of a

common scheme or plan. See United States v. Rodgers, 732 F.2d 625, 629 (8th Cir. 1984). As is

evident from the Second Superseding Indictment, Counts One through Seven are based on acts or
                                                 5




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transactions connected together or constituting parts of a common scheme or plan, that is the

distribution of cocaine and marijuana. Counts Eight through Ten are based on acts or transactions

connected together or constituting parts of a common scheme or plan, that is the murder for hire of

William Brown.1 Defendant Andre Taylor is charged with both the drug-related charges and the

murder for hire-related charges. Joinder of Counts One through Seven with Counts Eight through

Ten is proper in that the offenses are based on two or more acts or transactions connected together

or constituting parts of a common scheme or plan. As explained by the government:

               Here, the motivation for the conspiracy to commit murder for hire, charged
       in Count Eight … is co-defendant William Brown is alleged to have robbed
       defendant Andre Taylor of approximately $500,000.00 cash and 15 kilos of
       cocaine. This charge is therefore logically related to the drug conspiracy and all
       other counts charged in the Second Superseding Indictment.

(Government’s Suggestions in Opposition to Defendant’s Motion for Severance (doc #290) at 6)

The Court finds that Count Eight is properly joined with the other counts of the Second

Superseding Indictment.

       B.      Joinder of Defendants

       Rule 8(b), Federal Rules of Criminal Procedure, establishes the requirements for joinder of

defendants. Defendants are permitted to be joined where “they are alleged to have participated in

the same act or transaction, or in the same series of acts or transactions, constituting an offense or

offenses.” There is a preference in the federal system for joint trials of defendants who are

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 Count Nine alleges that defendants Andre Taylor and Kenneth Vaughn Cooper possessed a
firearm in furtherance of the conspiracy to commit murder for hire, as alleged in Count Eight. As
set forth in United States v. Hoang Ai Le, 2002 WL 32103064, *2 (E.D. Cal. Nov. 7, 2002), where
a conspiracy charge forms the predicate offense for a firearms charge under 18 U.S.C. ' 924(c), the
weapons charge is properly joined to the conspiracy count. Accord United States v. Best, 235
F.Supp.2d 923, 928 (N.D. Ind. 2002)(“because [the firearms murder charge under 924(j)]
incorporates [the drug conspiracy charge] as a predicate offense, the drug-related charges are
properly joined with the murder-related charges.”)
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indicted together. See Zafiro v. United States, 506 U.S. 534, 537 (1993).         This is increasingly

so when it is charged that defendants have engaged in a conspiracy. See United States v. Pou, 953

F.2d 363, 368 (8th Cir.), cert. denied, 504 U.S. 926 (1992).

       The question of whether joinder is proper is to be determined from the face of the

indictment, accepting as true the factual allegations in the indictment. See United States v.

Massa, 740 F.2d 629, 644 (8th Cir. 1984)(overruled on other grounds), cert. denied, 471 U.S. 1115

(1985). See also United States v. Willis, 940 F.2d 1136, 1138 (8th Cir. 1991), cert. denied, 507

U.S. 971 (1993)(“the indictment on its face revealed a proper basis for joinder”); United States v.

Jones, 880 F.2d 55, 62 (8th Cir. 1989)(“the superseding indictment reveals on its face a proper basis

for joinder”).

       Accepting as true the factual allegations in the Second Superseding Indictment, it is clear

that the charge in Count Eight (that between August 14 and August 21, 2012, defendant Union,

along with co-defendants Andre Taylor and Kenneth Vaughn Cooper and others, conspired to

travel in interstate commerce from Kansas City, Kansas, to Kansas City, Missouri, with the

intent that the murder of Billy Brown be committed, and did use a communication facility to

discuss, plan, and arrange said murder, in violation of the laws of the state of Missouri, as

consideration for the receipt of, and as consideration for a promise and agreement to pay, things

of pecuniary value, to wit:     $10,000 in United States currency) satisfies the requirement that

defendants are alleged to have participated in the same act or in the same series of acts constituting

an offense. There is no misjoinder of defendants in this case.

       C.        Defendant Union is Not Prejudiced By the Joinder of Offenses or Defendants

       “When defendants are properly joined, there is a strong presumption for their joint trial, as

it gives the jury the best perspective on all of the evidence and therefore increases the likelihood of

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a correct outcome.” United States v. Casteel, 663 F.3d 1013, 1018 (8th Cir. 2011)(quoting United

States v. Lewis, 557 F.3d 601, 609 (8th Cir. 2009)). However, Rule 14, Federal Rules of Criminal

Procedure, permits severance where joinder would result in unfair prejudice to a defendant. The

decision to sever lies in the trial court’s discretion. See United States v. Davis, 882 F.2d 1334,

1340 (8th Cir. 1989), cert. denied, 494 U.S. 1027 (1990).

       Defendant Union argues that he would be prejudiced by a joint trial. Specifically,

defendant states:

               3.      The recent filing of the second superseding indictment jeopardizes
       the current trial setting of April 28, 2014. Several co-defendants contemplate the
       filing of motions to continue, and at least two such motions have been filed.
       Defendant Union has been detained since May of 2013, and may have to suffer
       pretrial incarceration for an extended period if the court allows counsel for the
       newly added defendants sufficient time to prepare for trial.

               4.     Of the alleged overt acts supporting count eight in the second
       superseding indictment, Union is mentioned in only two, neither of which
       constitutes any sort of agreement or assent to a conspiracy to commit murder; on
       the contrary, Union is quoted in overt act number three as discouraging defendant
       Taylor from the doing of “something really silly.”

               5.      The statements of Andre Taylor and Kenneth Cooper, as recited in
       the allegations of overt acts supporting the charge in count eight, will presumably
       be admissible against Union at trial as statements made during the conspiracy in
       furtherance of same. Defendant Union will be precluded from cross-examination
       of Defendants Taylor and Cooper unless they elect to take the witness stand.

               6.      The vast bulk of the evidence necessary to prove the various
       conspiracies alleged in the second superseding indictment has nothing to do with
       Union. Union will inevitably suffer prejudice form the very volume and weight of
       the evidence presented to prove the drug distribution conspiracies, which evidence
       is unrelated to the charges contained in count eight of the superseding indictment.

(Defendant Union’s Motion for Severance of Count Eight of the Second Superseding Indictment

and for Separate Trial for Defendant Union (doc #277) at 1-2)

       Defendant Union argues that he is mentioned in only two overt acts in Count Eight, neither


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of which constitutes any sort of agreement or assent to a conspiracy to commit murder. However,

whether the government will be able to prove that defendant Union was part of the alleged

conspiracy is an issue for trial. This issue remains whether defendant Union is tried separately

or with his co-defendants.

       As to statements of co-defendants Andre Taylor and Kenneth Cooper, defendant Union is

correct in his assessment that their statements will presumably be admissible against him as

statements made by a coconspirator in furtherance of the conspiracy. See United States v. Avila

Vargas, 570 F.3d 1004, 1008-09 (8th Cir. 2009). As set forth in Avila Vargas:

               In Bruton v. United States, [391 U.S. 123 (1968),] the Supreme Court held
       that the admission of a non-testifying defendant’s statement that incriminated a
       co-defendant violated the latter’s confrontation clause rights. 391 U.S. at 135-36.
       Bruton, however, does not preclude the admission of statements by a coconspirator
       in furtherance of the conspiracy. United States v. Spotted Elk, 548 F.3d 641, 662
       (8th Cir. 2008); United States v. Singh, 494 F.3d 653, 658-59 (8th Cir. 2007); see
       also United States v. Coco, 926 F.2d 759, 761 (8th Cir. 1991). Such statements are
       generally admissible absent confrontation because they are not testimonial.
       Spotted Elk, 548 F.3d at 662; Singh, 494 F.3d at 658-59; see also Crawford v.
       Washington, 541 U.S. 36, 56 (2004)(“Most of the hearsay exceptions covered
       statements that by their nature were not testimonial-for example, business records
       or statements in furtherance of a conspiracy.”) Under Crawford v. Washington,
       the confrontation clause has no application to out-of-court non-testimonial
       statements. Whorton v. Bockting, 549 U.S. 406, 420 (2007); Spotted Elk, 548
       F.3d at 662; see also Melendez-Diaz v. Mass., --- U.S. ----, 129 S.Ct. 2527, 2539
       (2009)(“Business and public records are generally admissible absent confrontation
       not because they qualify under an exception to the hearsay rules, but because ...
       they are not testimonial.”) Garcia’s statement identifying Vargas as his source
       was not testimonial and thus did not implicate Vargas’s Sixth Amendment
       confrontation clause right. We find no Bruton error.

570 F.3d at 1008-09. Thus, any statements made by Andre Taylor and Kenneth Cooper in

furtherance of the conspiracy to commit murder for hire were not testimonial and, thus, do not

implicate defendant Union’s Sixth Amendment right to confrontation.

       With respect to defendant Union’s argument that the bulk of the evidence necessary to


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prove the various conspiracies has nothing to do with him, the Court notes that a defendant is not

entitled to severance simply because the evidence against a co-defendant is more weighty than

the evidence against him or because evidence admissible against a co-defendant may make his

case more difficult to defend.    In United States v. Willis, 940 F.2d 1136 (8th Cir. 1991), cert.

denied, 507 U.S. 971 (1993), the court found:

       There can be little doubt that the joint trial made it more difficult for Willis [a
       minor participant charged in only two of thirty-two counts] to defend himself.
       The evidence clearly revealed that Duke was a major drug dealer with a
       “far-flung” operation. But difficulty alone is not a reason to reject joinder. A
       showing of clear prejudice must be made.

Id. at 1139.    See also United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992); United States

v. Davis, 882 F.2d 1334, 1340 (8th Cir. 1989), cert. denied, 494 U.S. 1027 (1990).

       Prejudice may occur if the jury is unable to compartmentalize the evidence against each

defendant.     See Willis, 940 F.2d at 1138. However, this potential problem can normally be

resolved through applicable jury instructions.    See Pecina, 956 F.2d at 188 (“Disparity in the

weight of the evidence as between ... parties does not entitle one to severance ... In addition, the

district court gave precautionary instructions advising the jury of the proper use of evidence as

related to each defendant and each charge”); United States v. McConnell, 903 F.2d 566, 571 (8th

Cir. 1990), cert. denied, 498 U.S. 1106 (1991)(“the roles of the individual [defendants] were

sufficiently distinct that the jury, aided by the court’s instructions, could compartmentalize the

evidence against each defendant”); United States v. Jones, 880 F.2d 55, 63 (8th Cir. 1989);

United States v. Jackson, 549 F.2d 517, 526 (8th Cir.), cert. denied, 430 U.S. 985 (1977).    There

is no reason to question that any possible prejudice to defendant Union resulting from evidence

presented against other defendants cannot be resolved through precautionary jury instructions.

       Finally, defendant Union argues that the recent filing of the Second Superseding

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Indictment jeopardizes the current trial setting of April 28, 2014.          Defendant Union cites

prejudice in that he is detained and that said detention will now be extended if he is not severed

from co-defendants who need additional time to prepare for trial.        In his reply brief, defendant

Union argues that a failure to sever or to grant pretrial release will violate his Sixth Amendment

right to speedy trial.     The Court first notes, that “[i]t would be unusual to find the Sixth

Amendment has been violated when the Speedy Trial Act has not.”            United States v. Titlbach,

339 F.3d 692, 699 (8th Cir. 2003).      Accord United States v. McGhee, 532 F.3d 733, 739 (8th Cir.

2008); United States v. Shepard, 462 F.3d 847, 864 (8th Cir.), cert. denied, 549 U.S. 1099 (2006).

Defendant Union has not argued any violation of the Speedy Trial Act.

           In evaluating a Sixth Amendment claim for pretrial delay, the Court considers four

factors:     (1) the length of delay; (2) the reason for delay; (3) whether the defendant asserted the

right to a speedy trial; and (4) prejudice to the defendant.     See United States v. Jenkins-Watts,

574 F.3d 950, 966 (8th Cir. 2009), cert. denied, 559 U.S. 1019 (2010); United States v. Titlbach,

339 F.3d 692, 699 (8th Cir. 2003).      “A delay approaching one year may meet the presumption of

prejudicial delay and require the application of the other factors.”      Jenkins-Watts, 574 F.3d at

966. With respect to the first and second factors, defendant Union initially appeared before this

Court on May 28, 2013, and has been in custody since that date. Thus, the delay in trial is

approaching one year.         However, the delay in trial up until April 28, 2014, has been at the

request of the defendants. On June 26, 2013, the undersigned met with the parties to discuss the

trial setting of this case.    Defendant Union did not object to setting the case for trial in April

2014; but during that conference, counsel for defendant Union2 did object to an earlier setting in



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    At that time, defendant Union was represented by retained counsel, Gregory Vleisides.

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February 2014. (See Minute Sheet of Status Conference (doc #175) at 2)               A delay in trial

beyond the April trial docket is now necessitated as a result of the filing of a Second Superseding

Indictment on February 25, 2014, which added four defendants.         The case will be continued to a

special trial setting commencing on September 2, 2014, an additional four months.           The Court

finds that this additional four-month delay is the result of justifiable circumstances, specifically

that four defendants have been joined for trial who need time to prepare their defense.       Counsel

for defendant William Brown, one of the newly added defendants, has filed a motion for

continuance.    In that motion, defendant Brown’s counsel states that counsel for fifteen of the

seventeen appearing co-defendants do not oppose a continuance of the trial setting.              With

respect to the third factor, defendant Union has for the first time, through the filing of the instant

motion, asserted his right to a speedy trial.3   Finally, with respect to the fourth factor, defendant

asserts that his pretrial detention has caused him prejudice.    However, if defendant Union were

to be released from custody, he would apparently concede any argument that he be severed from

his co-defendants and proceed to trial on the April trial docket.           (See Defendant Union’s

Suggestions in Reply (doc #292) at 2)(“There are remedies available to the court for the situation

presented. The court should either allow Union to go to trial on April 28, 2014, or it should

grant him pretrial release.”)   Defendant Union has not argued that there is a risk that the passage

of time will impair his defense.      See United States v. Shepard, 462 F.3d 847, 864 (8th Cir.

2006)(no Sixth Amendment speedy trial violation where defendant did not allege that his defense



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 The Court notes that in October 2013, defendant Union’s counsel filed a Motion to Extend the
Time for the Filing of Pretrial Motions (doc #218), seeking an extension of time until November
23, 2013. In that motion, counsel states that defendant has been personally consulted and advised
of his rights under the Speedy Trial Act and that “[t]he ends of justice served by the granting of this
motion outweigh the interests of Defendant and the public in a speedy trial.” (Doc #218 at 1-2)
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was impaired by the delay, but rather alleged that oppressive pretrial incarceration kept him from

seeing his children and caused him anxiety).       Considering the factors set out above, the Court

finds that defendant Union’s constitutional right to a speedy trial has not been violated.

        While the Court is sensitive to the fact that defendant Union has been before the Court for

an extended time, the Court finds that the burden and costs of separate trials outweigh any

possible prejudice resulting from a further delay brought on by the filing of the Second

Superseding Indictment with its additional defendants. The Court will make every effort to

ensure that the trial of this case occurs as soon as is practicable and in accord with the Speedy Trial

Act.

                                        III. CONCLUSION

        Rules 8 and 14 are designed to promote judicial economy and efficiency and to avoid a

multiplicity of trials as long as these objectives can be achieved without substantial prejudice to the

right of the defendant to a fair trial. See Zafiro v. United States, 506 U.S. 534, 540 (1993).

Given the Court’s findings that Count Eight is properly joined with the other counts of the Second

Superseding Indictment, that defendant Union is properly joined with his co-defendants, and that

defendant Union’s claims of prejudice must fail, it is

        ORDERED that Defendant Union’s Motion for Severance of Count Eight of the Second

Superseding Indictment and for Separate Trial for Defendant Union (doc #277) is denied.



                                                              /s/ Sarah W. Hays
                                                             SARAH W. HAYS
                                                   UNITED STATES MAGISTRATE JUDGE




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